           Case 1:10-cv-00210-PLF Document 85 Filed 02/04/11 Page 1 of 2



                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
RODNEY LAIL, et al.,                )
                                     )
      Plaintiffs,                    )
                                     )
      v.                             )  Civil Action No. 10-0210 (PLF)
                                     )
UNITED STATES, et al.,               )
                                     )
      Defendants.                    )
____________________________________)


                                               ORDER

                This matter is before the Court on the motion of certain defendants, including the

Federal Bureau of Investigation, to dismiss the plaintiffs’ complaint. Because the defendants’

motion potentially could dispose of at least some of the plaintiffs’ claims, and because the

plaintiffs are proceeding pro se, the Court will advise the plaintiffs of their obligations under the

Federal Rules of Civil Procedure and the rules of this Court. See Fox v. Strickland, 837 F.2d 507

(D.C. Cir. 1988); Neal v. Kelly, 963 F.2d 453, 456 (D.C. Cir. 1992).

                The plaintiffs’ attention therefore is directed to Local Civil Rule 7(b), which

states:

                Within . . . such . . . time as the Court may direct, an opposing party
                shall serve and file a memorandum of points and authorities in
                opposition to [a] motion. If such a memorandum is not filed within
                the prescribed time, the Court may treat the motion as conceded.

L. CIV . R. 7(b).

                Thus, the Court may treat as conceded any motion not opposed within the time

limits outlined in this Order. Alternatively, the Court may consider on the merits any motion not
          Case 1:10-cv-00210-PLF Document 85 Filed 02/04/11 Page 2 of 2



opposed within the time limits outlined in this Order. As a result, any failure to respond to the

defendants’ pending motion carries with it the risk that plaintiffs’ claims will be dismissed.

Accordingly, it is hereby

               ORDERED that on or before February 28, 2011, the plaintiffs shall respond to

[84] certain defendants’ January 14, 2011 motion to dismiss the complaint. If the plaintiffs do not

respond by that date, the Court will treat the defendants’ motion as conceded.

               SO ORDERED.


                                                      /s/________________________
                                                      PAUL L. FRIEDMAN
                                                      United States District Judge
DATE: February 4, 2011




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